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 Fill in this information to identify the case:

                Alliance Transportation Services, Ltd.
  Debtor name _________________________________________________________________

                                          Western District of Texas
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
                                        21-50987
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                       1,153,413.66
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                         1,153,413.66
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                        4,961,774.66
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                          924,249.19



4. Total liabilities ...........................................................................................................................................................................        5,886,023.85
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
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      GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODS, AND DISCLAIMERS REGARDING
       DEBTOR’S SCHEDULES OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

  Lone Star Relocation, Ltd. (“Lone Star”), as Debtor in the above captioned chapter 11 case, with the
  assistance of its advisors, has filed its respective Schedules of Assets and Liabilities (the “Schedules”) and
  Statements of Financial Affairs (the “Statements” and together with the Schedules the “Schedules and
  Statements”) with the United States Bankruptcy Court for the Western District of Texas (the
  “Bankruptcy Court”), pursuant to United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”),
  and Rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

  These Global Notes and Statement of Limitations, Methods, and Disclaimers Regarding Debtor’s
  Schedules of Assets and Liabilities and Statements of Financial Affairs (the “Global Notes”) pertain to,
  are incorporated by reference in, and comprise an integral part of all of the Schedules and Statements.
  The Global Notes should be referred to and reviewed in connection with any review of the Schedules
  and Statements.

  The Schedules and Statements have been prepared by the Debtor’s management and advisors and are
  unaudited and subject to further review and potential revision. The Schedules and Statements do not
  purport to represent financial statements prepared in accordance with Generally Accepted Accounting
  Principles in the United States (“GAAP”), nor are they intended to be fully reconciled with the financial
  statements of the Debtor. In preparing the Schedules and Statements, the Debtor relied on financial
  data derived from its books and records as it was available at the time of preparation of the Schedules
  and Statements. At the time it was preparing Schedules and Statements, the Debtor was locked out of
  its office by its landlord and did not have complete access to the books and records necessary to insure
  the Schedules and Statements are complete and accurate. Moreover, following the lockout items may
  have been removed, lost or stolen without the Debtor’s knowledge or beyond its ability to reconcile
  those changes to its books and records.

  The Debtor’s management and advisors have made reasonable efforts to ensure that they are as
  accurate and complete as possible under the circumstances based on information that was available to
  them at the time of preparation. However, subsequent information or discovery may result in material
  changes to the Schedules and Statements, and inadvertent errors or omissions may exist.
  Notwithstanding any such discovery or new information, however, the Debtor may, but shall not be
  required to, update the Schedules and Statements, as appropriate.

  GLOBAL NOTES AND OVERVIEW OF METHODOLOGY

  1. Global Notes Control. In the event that the Schedules and Statements differ from the Global Notes,
  the Global Notes shall control.

  2. Title to Assets. The Debtor operated its business on a consolidated business along with its affiliated
  entities 1. With the exception of accounts receivable, the Debtor’s tangible assets are owned by Lone
  Star Relocation, Ltd. In an abundance of caution, the Debtor has listed the same assets on the Schedules
  of all three Debtors. All of the assets of the Debtors are encumbered by a lien in favor of the Bank of
  San Antonio and Rawhide Industries, LLC. The amount of the indebtedness significantly exceeds the

  1
   Lone Star Relocation, Ltd, Five Star Warehouses, LLC and Alliance Transportation Services, Ltd. are owned by
  common ownership, are affiliated entities and are collectively referred to as “Debtors”.
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  value of those assets, and no equity exists for distribution to creditor. Moreover, while the same
  creditors are identified as creditors of each of the Debtors, Lone Star Relocation, Ltd. is the party
  obligated on the claims of unsecured creditors. Accordingly, no purpose exists to attempt to reconcile
  ownership of assets or liabilities among the Debtors.

  3. Net Book Value of Assets. Unless otherwise indicated, the Debtor’s Schedules and Statements reflect
  net book values as of the Petition Date. The book values of certain assets may differ materially from
  their fair market values. For the avoidance of doubt, nothing contained in the Schedules and
  Statements is indicative of what a third party might be willing to pay in connection with any asset
  disposition.

  6. Estimates and Assumptions. The preparation of the Schedules and Statements required the Debtor to
  make certain estimates and assumptions that affected the reported amounts of assets and liabilities, the
  disclosures of contingent assets and liabilities, and the reported amounts of revenues and expenses.
  Actual results could differ materially from these estimates.

  7. Property Held for Another. The Debtors operated a storage warehouse containing the household
  goods of individuals and to a smaller extent commercial storage accounts. Most of the items held in
  storage represent the household goods of service men and women and families. Those accounts are
  with US Transcom and Alliance Transportation Services, Ltd and are not direct contracts between the
  Debtors and the servicemen and women. The Debtors have identified non- US Transcom and Alliance
  Transportation Services, Ltd accounts in response to Question 21 of the Statements of Financial Affairs.
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  Fill in this information to identify the case:

               Alliance Transportation Services, Ltd.
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Western District of Texas
  Case number (If known):
                                 21-50987
                                _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                   0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                Type of account                Last 4 digits of account number
          Bank of San Antonio
    3.1. _________________________________________________  Checking
                                                           ______________________              6
                                                                                               ____    3
                                                                                                      ____    7
                                                                                                             ____   4
                                                                                                                    ____         $______________________
                                                                                                                                   241.88
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 241.88
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

   ✔
            No. Go to Part 3.
           Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                 page 1
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Debtor           Alliance Transportation Services, Ltd.
                _______________________________________________________                                                 21-50987
                                                                                                 Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                   $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :    Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔



            SEE SCHEDULE A/B PART 3, QUESTION 11 ATTACHMENT                                                                        Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:     528,818.10
                                  ____________________________    0.00
                                                               – ___________________________          = ........                 $______________________
                                                                                                                                    528,818.10
                                    face amount                  doubtful or uncollectible accounts

     11b. Over 90 days old:         624,353.68
                                   ___________________________    0.00
                                                               – ___________________________          = ........                 $______________________
                                                                                                                                    624,353.68
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
                                                                                                                                    1,153,171.78
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :    I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________    $_______________________
    16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 2
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                   Alliance Transportation Services, Ltd.                                                                  21-50987
Debtor            _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                               Date of the last         Net book value of        Valuation method used        Current value of
                                                        physical inventory       debtor's interest        for current value            debtor’s interest
                                                                                 (Where available)
19. Raw materials
                                                                                   21,400.00                Depreciated Book Value      Unknown
  Moving                                              ______________
         an Storage Vaults, Pads, Boxes and related materials
   ________________________________________                                                                                           $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                     0.00
                                                                                                                                      $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     
     ✔      No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     ✔
            No
           Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔      No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used        Current value of debtor’s
                                                                                 debtor's interest        for current value            interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________      $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________      $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________      $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________      $______________________

32. Other farming and fishing-related property not already listed in Part 6

    ______________________________________________________________                $________________         ____________________     $______________________


Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                     page 3
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Debtor
                Alliance Transportation Services, Ltd.
               _______________________________________________________                                                  21-50987
                                                                                                 Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                   $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of     Valuation method             Current value of debtor’s
                                                                                 debtor's interest     used for current value       interest
                                                                                 (Where available)
39. Office furniture
See Schedule A/B Part 7, Question 39 Attachment
                                                                                    9,000.00
                                                                                  $________________      Depreciated Book Value $______________________
                                                                                                        ____________________      Unknown

40. Office fixtures

                                                                                  $________________     ____________________      $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
                                                                                  $________________     ____________________      $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________      ____________________      $______________________
    42.2___________________________________________________________               $________________      ____________________      $______________________
    42.3___________________________________________________________               $________________      ____________________      $______________________
43. Total of Part 7.
                                                                                                                                     0.00
                                                                                                                                   $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

      No
     
     ✔ Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 4
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 Debtor
                  Alliance Transportation Services, Ltd.
                 _______________________________________________________
                                                                                                              21-50987
                                                                                           Case number (if known)_____________________________________
                 Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          See Schedule A/B Part 8, Question 47 Attachment                    100,000.00             Depreciated Book Value      Unknown
    47.1___________________________________________________________         $________________      ____________________       $______________________

    47.2___________________________________________________________         $________________      ____________________       $______________________

    47.3___________________________________________________________         $________________      ____________________       $______________________

    47.4___________________________________________________________         $________________      ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________       ____________________       $______________________

    48.2__________________________________________________________         $________________       ____________________       $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________       ____________________       $______________________

    49.2__________________________________________________________         $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    See Schedule A/B Part 8, Question 50 Attachment
                                                                                                                                Unknown
    ______________________________________________________________         $________________       ____________________       $______________________


51. Total of Part 8.                                                                                                            0.00
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
          No
     
     ✔     Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
          No
     
     ✔     Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                page 5
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             Alliance Transportation Services, Ltd.                                                                    21-50987
 Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       Lease of Warehouse Building at 7801 IH - 35             Lease
55.1
       North San Antonio, Texas
                                                                                      0.00                 N/A                           0.00
                                                                                     $_______________      ____________________        $_____________________

55.2

                                                                                     $_______________      ____________________        $_____________________

55.3

                                                                                     $_______________      ____________________        $_____________________


56. Total of Part 9.                                                                                                                     0.00
                                                                                                                                       $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔    No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔    No
           Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rt y

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
       ✔


        Yes. Fill in the information below.
        General description                                                          Net book value of     Valuation method             Current value of
                                                                                     debtor's interest     used for current value       debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
       ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.
                                                                                                                                        $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                                  page 6
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Debtor         Alliance Transportation Services, Ltd.
              _______________________________________________________73                        21-50987
                                                                        Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
          No
          Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
          No
          Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
          No
          Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     ✔
           No. Go to Part 12.
          Yes. Fill in the information below.
                                                                                                                                      Current value of
                                                                                                                                      debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                     _______________     –   __________________________         =   $_____________________
                                                                     Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                   $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                   $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                   $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                    $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                      $_____________________
   ____________________________________________________________                                                                      $_____________________
78. Total of Part 11.
                                                                                                                                     $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
          No
          Yes

Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 7
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Debtor
              Alliance Transportation Services, Ltd.
             _______________________________________________________73
                                                                                              21-50987
                                                                       Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         241.88
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         1,153,171.78
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         0.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         0.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               0.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         0.00
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         1,153,413.66                          0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  1,153,413.66                                                                                     1,153,413.66
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................     $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
              SCHEDULE
21-50987-cag Doc#3         A/B, PART3,
                   Filed 08/10/21 EnteredQUESTION     11 ATTACHMENT
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                 SCHEDULE A/B PART 8, QUESTION 47
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                                        73
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         SCHEDULE A/B PART 8, QUESTION  73      50 ATTACHMENT
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                                        73
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                                                 73
  Fill in this information to identify the case:
              Alliance Transportation Services, Ltd.
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Western  District of Texas
                                 21-50987
  Case number (If known):       _________________________                                                                                               Check if this is an
                                                                                                                                                            amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                 Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                  Amount of claim           Value of collateral
                                                                                                                                 Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien            of collateral.            claim
     Rawhide Industries, LLC                                     See Schedule A/B Part 7, Question 39
      __________________________________________
                                                                 Attachment, Moving an Storage Vaults,                             2,394,302.14
                                                                                                                                 $__________________          1,153,171.78
                                                                                                                                                            $_________________

     Creditor’s mailing address
                                                                 Pads, Boxes and related materials,
                                                                 Accounts Receivable, See Schedule A/B
      106 Ponca Bend
      ________________________________________________________   Part 8, Question 50 Attachment
      San Antonio, TX 78231
      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                 Agreement    you made, Second Lien Priority
                                                                 _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred           __________________          
                                                                 ✔   No
    Last 4 digits of account                                        Yes
    number                   _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                   No
    same property?                                               
                                                                 ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    
    ✔
      No
                                                                 As of the petition filing date, the claim is:
    XXYes. Specify each creditor, including this creditor,
    
                                                                 Check all that apply.
     The Bank of San Antonio - First Lien
     Rawhide Industries, LLC - Second lien
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     The Bank of San Antonio
                                                                 See Schedule A/B Part 7, Question 39                            $__________________
                                                                                                                                  2,567,472.52              $_________________
                                                                                                                                                             1,153,413.66
      __________________________________________                 Attachment, Moving an Storage Vaults,
     Creditor’s mailing address                                  Pads, Boxes and related materials, See
      888 Isom
      ________________________________________________________   Schedule A/B Part 8, Question 47
      Suite 100, San Antonio, TX 78216
      ________________________________________________________   Attachment, Accounts Receivable, See
                                                                 Schedule A/B Part 8, Question 50
    Creditor’s email address, if known
                                                                 Attachment
      _________________________________________
                                                                 Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                      Agreement you made, First Lien Priority
                                                                  _________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes
    
    ✔ No
                                                                 Is anyone else liable on this claim?
    xx
     Yes. Have you already specified the relative                  No
              priority?
                                                                 
                                                                 ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.          As of the petition filing date, the claim is:
      The Bank of San Antonio - First Lien                       Check all that apply.
      Rawhide Industries, LLC - Second lien
                                                                    Contingent
             Yes. The relative priority of creditors is            Unliquidated
                  specified on lines _____                          Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    4,961,774.66
                                                                                                                                  $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                          2
                                                                                                                                                              page 1 of ___
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                                                 73
Debtor
               Alliance Transportation Services, Ltd.
               _______________________________________________________                                                    21-50987
                                                                                                  Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity
     Bill Kingman
     Law Offices of William B. Kingman, PC
     3511 Broadway                                                                                                     1
                                                                                                               Line 2. __                    _________________
     San Antonio, TX, 78209
     Michael Flume
     FLUME LAW FIRM, LLP
     1020 N.E. Loop 410, Suite 530                                                                                     2
                                                                                                               Line 2. __                    _________________
     San Antonio, TX, 78209


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      2 of ___
                                                                                                                                                           2
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      Fill in this information to identify the case: 73

      Debtor
                      Alliance Transportation Services, Ltd.
                      __________________________________________________________________

                                              Western District of Texas
      United States Bankruptcy Court for the: ________________________________

      Case number      21-50987
                       ___________________________________________
      (If known)

                                                                                                                                       Check if this is an
                                                                                                                                          amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                      12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :         List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
          No. Go to Part 2.
      
      ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
      3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                           Total claim                Priority amount
2.1 Priority creditor’s name and mailing address              As of the petition filing date, the claim is: $______________________
                                                                                                             Unknown
    Bexar County Tax Assessor                                                                                                         $_________________
                                                              Check all that apply.
    P.O. Box 839950                                              Contingent
    San Antonio, TX, 78283                                       Unliquidated
                                                                 Disputed

                                                              Basis for the claim:
      Date or dates debt was incurred                          Taxes & Other Government Units
      _________________________________

      Last 4 digits of account                                Is the claim subject to offset?
      number      _______________________                     ✔ No

                                                               Yes
      Specify Code subsection of PRIORITY unsecured
                                  8
      claim: 11 U.S.C. § 507(a) (_____)
      Priority creditor’s name and mailing address
2.2                                                           As of the petition filing date, the claim is: $______________________   $_________________
                                                              Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

                                                              Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                     Is the claim subject to offset?
                                                               No
      Specify Code subsection of PRIORITY unsecured            Yes
      claim: 11 U.S.C. § 507(a) (_____)

2.3 Priority creditor’s name and mailing address              As of the petition filing date, the claim is: $______________________   $_________________
                                                              Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

                                                              Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                     Is the claim subject to offset?
                                                               No
      Specify Code subsection of PRIORITY unsecured            Yes
      claim: 11 U.S.C. § 507(a) (_____)



  Official Form 206E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                               25
                                                                                                                                           page 1 of ___
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               Alliance Transportation        Filed
                                       Services, Ltd. 08/10/21 Entered 08/10/21 09:23:27 Main21-50987     Document Pg 26 of
  Debtor       _______________________________________________________           Case number (if known)_____________________________________
               Name                                                   73
 Pa rt 2 :    List All Cre dit ors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Brian Brown                                                                                                              Unknown
                                                                                                                           $________________________________
                                                                           
                                                                           ✔
                                                                                Contingent
    3903 Barrington St                                                         Unliquidated
    Apt 2016 Park At Ventana Apartments                                        Disputed
    San Antonio, TX, 78217                                                                         Customer: 11904
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔    No
                                                                               Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    AC Element                                                             Check all that apply.                             Unknown
                                                                                                                           $________________________________
    1900 East College Ave                                                     Contingent
                                                                              Unliquidated
    Cudahy, WI, 53110                                                         Disputed
                                                                           Basis for the claim:
                                                                                                   Customer: 12254


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔    No
    Last 4 digits of account number            __________________              Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Adam Montes                                                                                                              Undetermined
                                                                                                                           $________________________________
                                                                           
                                                                           ✔
                                                                                Contingent
    Fort Sam Houston                                                           Unliquidated
                                                                               Disputed
     TX, 78234
                                                                           Basis for the claim:
                                                                                                   Customer: 11790

    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔    No
                                                                               Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Alford, Jamar                                                          Check all that apply.
                                                                                                                             0.00
                                                                                                                           $________________________________
    Jppso San Antonio                                                      ✔   Contingent
    Supplier Support Flight                                                
                                                                           ✔    Unliquidated
    Lackland AFB, TX, 78236                                                
                                                                           ✔    Disputed
                                                                            Basis for the claim:
                                                                                                   Claim # Olon2066232

    Date or dates debt was incurred            2/12/2021
                                               ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                                No
                                                                               Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Amalgamated Financial Group                                                                                              165.38
                                                                                                                           $________________________________
                                                                           Check all that apply.
    105 White Oak Lane                                                         Contingent
                                                                               Unliquidated
    Old Bridge, NJ, 8857                                                       Disputed
                                                                           Basis for the claim:
                                                                                                   Collection Agency

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔    No
                                                                               Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    American Express                                                                                                         90,000.00
                                                                                                                           $________________________________
                                                                           Check all that apply.
    Po Box 650448                                                             Contingent
                                                                              Unliquidated
     Dallas, TX, 75265 0448                                                   Disputed
                                                                           Basis for the claim:    Credit Card Debt

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                                No
                                                                               Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                   2 of ___
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  Debtor       _______________________________________________________           Case number (if known)_____________________________________
               Name                                                   73
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             Unknown
                                                                                                                    $________________________________
 Angelo Rodriguez                                                   
                                                                    ✔   Contingent
 C/O Milly Arroyo                                                      Unliquidated
                                                                       Disputed
 AK
                                                                    Basis for the claim: Customer: 11941



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      291.19
                                                                                                                    $________________________________
 At&T Alliance
 Po Box 105414                                                         Contingent
                                                                       Unliquidated
 Atlanta, GA, 30348 5414                                               Disputed

                                                                    Basis for the claim: Credit Card Debt



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Barbara Wright                                                     Check all that apply.
                                                                                                                     Undetermined
                                                                                                                    $________________________________
 Po Box 99321                                                       
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 Lakewood, WA, 98496                                                   Disputed
                                                                    Basis for the claim: Customer: 12398



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     Unknown
                                                                                                                    $________________________________
 Bio Medical Solutions, Inc.                                        Check all that apply.
 3727 Greenbriar Dr.                                                
                                                                    ✔
                                                                        Contingent
 #304                                                                  Unliquidated
 Stafford, TX, 77477                                                   Disputed

                                                                    Basis for the claim: Customer: 11074



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Brian Vicente                                                      Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 99 James P Murphy Highway                                          
                                                                    ✔
                                                                        Contingent
 Attn: Document Control Dept                                           Unliquidated
 West Warwick, RI, 2893                                                Disputed
                                                                    Basis for the claim: Customer: 9656



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




       Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                                3 of ___
                                                                                                                                           page __    25
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               Alliance Transportation        Filed
                                       Services, Ltd. 08/10/21 Entered 08/10/21 09:23:27 Main21-50987     Document Pg 28 of
  Debtor       _______________________________________________________           Case number (if known)_____________________________________
               Name                                                   73
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             Unknown
                                                                                                                    $________________________________
 Cassandra Miller                                                   
                                                                    ✔   Contingent
 Po Box 33321                                                          Unliquidated
                                                                       Disputed
 San Antonio, TX, 78265
                                                                    Basis for the claim: Customer: 11706



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      2,189.57
                                                                                                                    $________________________________
 Castell Automatic Fire Protect
 2836 Delafield                                                        Contingent
                                                                       Unliquidated
 Houston, TX, 77023                                                    Disputed

                                                                    Basis for the claim: Utility Services



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 CDS Moving Equipment                                               Check all that apply.
                                                                                                                     68,586.51
                                                                                                                    $________________________________
 375 West Manville St                                                  Contingent
                                                                       Unliquidated
 Rancho Domingue, CA, 90220                                            Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     Unknown
                                                                                                                    $________________________________
 Chris Alegria                                                      Check all that apply.
 19901 Cheyenne Calley Dr                                           
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 Round Rock, TX, 78664                                                 Disputed

                                                                    Basis for the claim: Customer: 11838



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Christopher Cummings                                               Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 Emaple4024@Gmail.Com                                               
                                                                    ✔
                                                                        Contingent
 4724 Green Bluff Dr.                                                  Unliquidated
 Schertz, TX, 78154                                                    Disputed
                                                                    Basis for the claim: Customer: 12755



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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               Name                                                   73
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             Unknown
                                                                                                                    $________________________________
 Comco Systems                                                      
                                                                    ✔   Contingent
 306 West Overly Dr                                                    Unliquidated
                                                                       Disputed
 Lake Dallas, TX, 75065
                                                                    Basis for the claim: Customer: 12003



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 Cosa City Of San Antonio
 300 South Alamo                                                    
                                                                    ✔
                                                                        Contingent
 Maintenance Basement Receiving                                        Unliquidated
 San Antonio, TX, 78205                                                Disputed

                                                                    Basis for the claim: Customer: 12356



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 CPS Alliance                                                       Check all that apply.
                                                                                                                     167.06
                                                                                                                    $________________________________
 Po Box 2678                                                           Contingent
                                                                       Unliquidated
 San Antonio, TX, 78289 0001                                           Disputed
                                                                    Basis for the claim: Utility Services



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     391.37
                                                                                                                    $________________________________
 CPS Lone Star                                                      Check all that apply.
 Po Box 2678                                                           Contingent
                                                                       Unliquidated
 San Antonio, TX, 78289 0001                                           Disputed

                                                                    Basis for the claim: Utility Services



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Crown Lift Trucks                                                  Check all that apply.
                                                                                                                      154.42
                                                                                                                    $________________________________
 Po Box 641173                                                         Contingent
                                                                       Unliquidated
 Cincinnati, OH, 45264 1173                                            Disputed
                                                                    Basis for the claim: Utility Services



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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               Name                                                   73
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             Undetermined
                                                                                                                    $________________________________
 David Brown                                                        
                                                                    ✔   Contingent
 129 Grand Vista                                                       Unliquidated
                                                                       Disputed
 Cibolo, TX, 78108
                                                                    Basis for the claim: Customer: 12777



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 David Duplessis
 2887 Graham Road                                                   
                                                                    ✔
                                                                        Contingent
                                                                    
                                                                    ✔
                                                                        Unliquidated
 Fort Sam Houston, TX, 78234                                        
                                                                    ✔
                                                                        Disputed

                                                                    Basis for the claim: No Claim Number Assigned



        Date or dates debt was incurred       24/06/2021
                                             ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 David Johnson                                                      Check all that apply.
                                                                                                                     Unknown
                                                                                                                    $________________________________
 Davjohnson1987@Gmail.Com                                           
                                                                    ✔
                                                                        Contingent
 9482 Lighthouse Pointe                                                Unliquidated
 Hopewell, VA, 23860                                                   Disputed
                                                                    Basis for the claim: Customer: 12670



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     0.00
                                                                                                                    $________________________________
 Davyne Bantolina                                                   Check all that apply.
 C/O Transpo Services                                               
                                                                    ✔
                                                                        Contingent
 4411 E. 119 Th Street                                              
                                                                    ✔
                                                                        Unliquidated
 Grandview, MO, 64030                                               
                                                                    ✔
                                                                        Disputed

                                                                    Basis for the claim: Claim# Hafc0570979



        Date or dates debt was incurred       3/15/2021
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 DB Well                                                            Check all that apply.
                                                                                                                      12,933.28
                                                                                                                    $________________________________
 8209 Roughrider Drive                                                 Contingent
                                                                       Unliquidated
 San Antonio, TX, 78239                                                Disputed
                                                                    Basis for the claim: Utility Services



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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  Debtor       _______________________________________________________           Case number (if known)_____________________________________
               Name                                                   73
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             2,279.00
                                                                                                                    $________________________________
 Denali Group                                                          Contingent
 Po Box 389666                                                         Unliquidated
                                                                       Disputed
 Seattle , WA, 98138
                                                                    Basis for the claim: Promised to help pay creditors



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 Dennis Loomas
 Dennis.Loomas24@Gmail.Com                                          
                                                                    ✔
                                                                        Contingent
 340 Treeline Park #824                                                Unliquidated
 San Antonio, TX, 78209                                                Disputed

                                                                    Basis for the claim: Customer: 12715



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Dice Forwarding                                                    Check all that apply.
                                                                                                                     100.00
                                                                                                                    $________________________________
 163 US Highway 130                                                    Contingent
 Ste 2F ?                                                              Unliquidated
 Bordentown, NJ, 8505                                                  Disputed
                                                                    Basis for the claim: Promised to help pay creditors



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     3,139.56
                                                                                                                    $________________________________
 Digital Document Solutions                                         Check all that apply.
 411 East Aviation Blve                                                Contingent
 Suite 1                                                               Unliquidated
 Universal City, TX, 78148                                             Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Direct Chemical Solutions                                          Check all that apply.
                                                                                                                      956.07
                                                                                                                    $________________________________
 303 N. Glenoaks Blvd                                                  Contingent
 Ste 200                                                               Unliquidated
 Burbank, CA, 91502                                                    Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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  Debtor       _______________________________________________________           Case number (if known)_____________________________________
               Name                                                   73
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  32
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             Unknown
                                                                                                                    $________________________________
 Douglas Jackson                                                    
                                                                    ✔   Contingent
 1907 Hamilton Street                                                  Unliquidated
                                                                       Disputed
 Holt, MI, 48842
                                                                    Basis for the claim: Customer: 12442



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  33
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 Esther Kamau
 2261 Hughes Avenue                                                 
                                                                    ✔
                                                                        Contingent
 Ste 160                                                               Unliquidated
 Lackland Afb, TX, 78236 9858                                          Disputed

                                                                    Basis for the claim: Customer: 63



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  34
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Fed Ex                                                             Check all that apply.
                                                                                                                     1,191.33
                                                                                                                    $________________________________
 Dept Ch                                                               Contingent
 Po Box 10306                                                          Unliquidated
 Palatine, IL, 60055 0306                                              Disputed
                                                                    Basis for the claim: Utility Services



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  35
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     Unknown
                                                                                                                    $________________________________
 Felix Aranzadi                                                     Check all that apply.
 11350 Random Hills Rd                                              
                                                                    ✔
                                                                        Contingent
 Suite 130                                                             Unliquidated
 Fairfax, VA, 22030                                                    Disputed

                                                                    Basis for the claim: Customer: 12712



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  36
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Fic Print And Copy                                                 Check all that apply.
                                                                                                                      416.77
                                                                                                                    $________________________________
 1150 North Loop 1604 West                                             Contingent
 Ste 108 603                                                           Unliquidated
 San Antonio, TX, 78248                                                Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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               Name                                                   73
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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  37
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             Unknown
                                                                                                                    $________________________________
 Freeman Peterson                                                   
                                                                    ✔   Contingent
 4816 Birmingham Drive                                                 Unliquidated
                                                                       Disputed
 Indianapolis, IN, 46235
                                                                    Basis for the claim: Customer: 12159



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  38
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 George Weathersby
 7311 Pine Haven                                                    
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 San Antonio, TX, 78244                                                Disputed

                                                                    Basis for the claim: Customer: 12180



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  39
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Gordon Krnaich                                                     Check all that apply.
                                                                                                                     Unknown
                                                                                                                    $________________________________
 99 James P Murphy Highway                                          
                                                                    ✔
                                                                        Contingent
 Attn: Document Control Dept                                           Unliquidated
 West Warwick, RI, 2893                                                Disputed
                                                                    Basis for the claim: Customer: 9656



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  40
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     Unknown
                                                                                                                    $________________________________
 Gregory Chapin                                                     Check all that apply.
 1212 St George Road                                                
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 Evansville, IN, 47711                                                 Disputed

                                                                    Basis for the claim: Customer No: 133



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  41
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Gregory James                                                      Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 2837 Dunbar Ave                                                    
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 Fort Myers, FL, 33916                                                 Disputed
                                                                    Basis for the claim: Customer: 12285



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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               Name                                                   73
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  42
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             Unknown
                                                                                                                    $________________________________
 Guadalupe Sepulveda                                                
                                                                    ✔   Contingent
 Po Box 1306                                                           Unliquidated
 Attn: Taylor J Arpin                                                  Disputed
 East Greenwich, RI, 2818
                                                                    Basis for the claim: Customer: 9714



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  43
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 Hadi Fariss
 Po Box 3276                                                        
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 Saginaw, MI, 48605                                                    Disputed

                                                                    Basis for the claim: Customer No: 11306



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  44
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Harry Sardella                                                     Check all that apply.
                                                                                                                     Unknown
                                                                                                                    $________________________________
 Hsardella@Msn,Con                                                  
                                                                    ✔
                                                                        Contingent
 210 501 4446                                                       
                                                                    ✔
                                                                        Unliquidated
 TX                                                                 
                                                                    ✔
                                                                        Disputed
                                                                    Basis for the claim: Claim No Number Attached



        Date or dates debt was incurred      ___________________
                                             5/1/2021               Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  45
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     Unknown
                                                                                                                    $________________________________
 Heike Butler                                                       Check all that apply.
 3501 Pin Oak Drive                                                 
                                                                    ✔
                                                                        Contingent
 Apt 816                                                               Unliquidated
 San Antonio, TX, 78229                                                Disputed

                                                                    Basis for the claim: Customer: 12199



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  46
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Heritage Radiology, Llc                                            Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 6496 N. New Braunfels                                              
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 San Antonio, TX, 78209                                                Disputed
                                                                    Basis for the claim: Customer: 12090



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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               Name                                                   73
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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  47
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             Unknown
                                                                                                                    $________________________________
 Hyatt Regency Hotel                                                
                                                                    ✔   Contingent
 123 Losoya Street                                                     Unliquidated
                                                                       Disputed
 San Antonio, TX, 78205
                                                                    Basis for the claim: Customer: 10596



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  48
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      7,586.01
                                                                                                                    $________________________________
 Idea Lease
 4300 IH - 10 East                                                     Contingent
                                                                       Unliquidated
 San Antonio, TX, 78219                                                Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  49
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 James Park                                                         Check all that apply.
                                                                                                                     Unknown
                                                                                                                    $________________________________
 Jcpark@Coamerica.Com                                               
                                                                    ✔
                                                                        Contingent
 3092 CR 201                                                           Unliquidated
 Uvalde, TX, 78801                                                     Disputed
                                                                    Basis for the claim: Customer: 12689



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  50
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     Unknown
                                                                                                                    $________________________________
 Jannette Prichard                                                  Check all that apply.
 43 Granburg Circle                                                 
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 San Antonio, TX, 78218                                                Disputed

                                                                    Basis for the claim: Customer: 11599



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  51
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Jason Cromartie                                                    Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 99 James P Murphy Highway                                          
                                                                    ✔
                                                                        Contingent
 Attn: Document Control Dept                                           Unliquidated
 West Warwick, RI, 2893                                                Disputed
                                                                    Basis for the claim: Customer: 9656



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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               Name                                                   73
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  52
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             Unknown
                                                                                                                    $________________________________
 Jason Davis                                                        
                                                                    ✔   Contingent
 230 Gabriel Vista West                                             
                                                                    ✔   Unliquidated
                                                                    
                                                                    ✔   Disputed
 Georgetown, TX, 78633
                                                                    Basis for the claim: No Claim Number



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred       1/21/2021
                                             ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  53
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 Jessica Lanuto
 13520 Luxe Ave                                                     
                                                                    ✔
                                                                        Contingent
 Apt 202                                                               Unliquidated
 Lakewood Ranch, FL, 34211 4505                                        Disputed

                                                                    Basis for the claim: Customer: 12340



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  54
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Jimmy Bowser                                                       Check all that apply.
                                                                                                                     Unknown
                                                                                                                    $________________________________
 1714 Frontier Valley Drive                                            Contingent
                                                                    
                                                                    ✔
                                                                        Unliquidated
 Austin, TX, 78741                                                  
                                                                    ✔
                                                                        Disputed
                                                                    Basis for the claim: Claim # Qefl0043696



        Date or dates debt was incurred      ___________________
                                             7/30/2021              Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  55
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     Unknown
                                                                                                                    $________________________________
 Jose Pedro                                                         Check all that apply.
 99 James P Murphy Highway                                          
                                                                    ✔
                                                                        Contingent
 Attn: Document Control Dept                                           Unliquidated
 West Warwick, RI, 2893                                                Disputed

                                                                    Basis for the claim: Customer: 9656



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  56
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Joseph Michael Babb                                                Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 2935 Thousand Oaks                                                 
                                                                    ✔
                                                                        Contingent
 No 6 122                                                              Unliquidated
 San Antonio, TX, 78247 3312                                           Disputed
                                                                    Basis for the claim: Customer: 11886



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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               Name                                                   73
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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  57
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             Unknown
                                                                                                                    $________________________________
 Juan Pastrana                                                      
                                                                    ✔   Contingent
 12436 Vance Jackson Rd                                                Unliquidated
 #532                                                                  Disputed
 San Antonio, TX
                                                                    Basis for the claim: Customer: 12525



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  58
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 Julian Uribe
 1130 Ramagen Road                                                  
                                                                    ✔
                                                                        Contingent
                                                                    
                                                                    ✔
                                                                        Unliquidated
 Seaside, CA, 93955                                                 
                                                                    ✔
                                                                        Disputed

                                                                    Basis for the claim: Claim Hafc058612



        Date or dates debt was incurred       6/13/2021
                                             ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  59
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Julian Uribepineda                                                 Check all that apply.
                                                                                                                     Unknown
                                                                                                                    $________________________________
 C/O Tmm                                                            
                                                                    ✔
                                                                        Contingent
 8445 Western Way                                                   
                                                                    ✔
                                                                        Unliquidated
 Jacksonville , FL, 32256                                           
                                                                    ✔
                                                                        Disputed
                                                                    Basis for the claim: Property Damage Final Settlement Hafc0583612



        Date or dates debt was incurred      ___________________
                                             2/8/2021               Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  60
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     Unknown
                                                                                                                    $________________________________
 Justin Wharton                                                     Check all that apply.
 309 Vine Street                                                    
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 Beckley, WV, 25801 4845                                               Disputed

                                                                    Basis for the claim: Customer: 12374



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  61
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Karen (Joseph) B Kennedy                                           Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 Bigskymontana7@Gmail.Com                                           
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 AK                                                                    Disputed
                                                                    Basis for the claim: Customer: 12714



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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  Debtor       _______________________________________________________           Case number (if known)_____________________________________
               Name                                                   73
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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  62
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             Unknown
                                                                                                                    $________________________________
 Kate Park                                                          
                                                                    ✔   Contingent
 120 West Olmos                                                        Unliquidated
                                                                       Disputed
 San Antonio, TX, 78212
                                                                    Basis for the claim: Customer: 12657



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  63
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      295.79
                                                                                                                    $________________________________
 Knight
 12961 Park Central                                                    Contingent
 Suite 1470                                                            Unliquidated
 San Antonio, TX, 78216                                                Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  64
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Krishna Adams                                                      Check all that apply.
                                                                                                                     Unknown
                                                                                                                    $________________________________
 8907 Interlachen                                                   
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 Selma, TX, 78154                                                      Disputed
                                                                    Basis for the claim: Customer: 12774



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  65
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     Unknown
                                                                                                                    $________________________________
 Lloyd Oubre                                                        Check all that apply.
 122 Ruellia Drive                                                  
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 Georgetown, TX, 78633                                                 Disputed

                                                                    Basis for the claim: Customer: 4690



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  66
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Lois Borsay                                                        Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 10 Oakwell Farms Parkway                                           
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 San Antonio, TX, 78218                                                Disputed
                                                                    Basis for the claim: Customer: 12604



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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  Debtor       _______________________________________________________           Case number (if known)_____________________________________
               Name                                                   73
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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  67
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             151.58
                                                                                                                    $________________________________
 Lone Star Pest Solutions                                              Contingent
 Po Box 461574                                                         Unliquidated
                                                                       Disputed
 San Antonio, TX, 78246 1574
                                                                    Basis for the claim: Utility Services



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  68
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 Lorenzo Salgado
 815 S Main Street                                                  
                                                                    ✔
                                                                        Contingent
 Government Services Division                                          Unliquidated
 Jacksonville, FL, 32207                                               Disputed

                                                                    Basis for the claim: Customer: 11476



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  69
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Manfredo Mazariegos                                                Check all that apply.
                                                                                                                     Unknown
                                                                                                                    $________________________________
 3741 Dean Circle                                                   
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 Fort Sam Houston, TX, 78234                                           Disputed
                                                                    Basis for the claim: Customer: 12758



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  70
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     Unknown
                                                                                                                    $________________________________
 Marguerite (Peggy) Kneip                                           Check all that apply.
 109 West French Place                                              
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 San Antonio, TX, 78212                                                Disputed

                                                                    Basis for the claim: Customer: 5225



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  71
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Marion Collins                                                     Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 57 Forysth St Nw                                                   
                                                                    ✔
                                                                        Contingent
 Unit 15 B                                                             Unliquidated
 Atlanta, GA, 30303                                                    Disputed
                                                                    Basis for the claim: Customer: 12759



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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               Name                                                   73
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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  72
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             Unknown
                                                                                                                    $________________________________
 Mark Mc Pherson                                                    
                                                                    ✔   Contingent
 614 Harrison Street                                                   Unliquidated
 Suite B                                                               Disputed
 Sumner, WA, 98390
                                                                    Basis for the claim: Customer: 12528



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  73
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 Martin Politron
 11350 Random Hills Rd                                              
                                                                    ✔
                                                                        Contingent
 Suite 130                                                             Unliquidated
 Fairfax, VA, 22030                                                    Disputed

                                                                    Basis for the claim: Customer: 12712



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  74
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Movers Choice Insurance                                            Check all that apply.
                                                                                                                     5,456.45
                                                                                                                    $________________________________
 3221 Collinsworth St.                                                 Contingent
                                                                       Unliquidated
 Fort Worth, TX, 76107                                                 Disputed
                                                                    Basis for the claim: Utility Services



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  75
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     Unknown
                                                                                                                    $________________________________
 Napasha Obermuller                                                 Check all that apply.
 Napasha813@Gmail.Com                                               
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 AK                                                                    Disputed

                                                                    Basis for the claim: Customer: 12552



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  76
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 National Distribution Service. Ltd                                 Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 616 Trade Center Blvd                                              
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 Chesterfield, MO, 63005                                               Disputed
                                                                    Basis for the claim: Customer: 12408



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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               Name                                                   73
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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  77
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             Unknown
                                                                                                                    $________________________________
 Nuaire Inc                                                         
                                                                    ✔   Contingent
 2100 Fernbrook Lane                                                   Unliquidated
 Attn: Melissa Palttner                                                Disputed
 Plymouth, MN, 55477 4722
                                                                    Basis for the claim: Customer: 10569



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  78
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      644.73
                                                                                                                    $________________________________
 O'Reilly Automotive
 Po Box 9464                                                           Contingent
                                                                       Unliquidated
 Springfield, MO, 65801 9464                                           Disputed

                                                                    Basis for the claim: Home / Car Repairs



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  79
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Olga B. Orso                                                       Check all that apply.
                                                                                                                     Unknown
                                                                                                                    $________________________________
 Po Box 1066                                                        
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 Cibolo, TX, 78108                                                     Disputed
                                                                    Basis for the claim: Customer: 4702



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  80
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     Unknown
                                                                                                                    $________________________________
 Omar Pedraza                                                       Check all that apply.
 99 James P Murphy Highway                                          
                                                                    ✔
                                                                        Contingent
 Attn: Document Control Dept                                           Unliquidated
 West Warwick, RI, 2893                                                Disputed

                                                                    Basis for the claim: Customer: 9656



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  81
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Pam Whitmire                                                       Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 C/O Dept Of Army/Claims Office                                     
                                                                    ✔
                                                                        Contingent
 50 Third Ave. Suite 307                                            
                                                                    ✔
                                                                        Unliquidated
 Fort Knox, KY, 40121                                               
                                                                    ✔
                                                                        Disputed
                                                                    Basis for the claim: Army Claim # 20212010219



        Date or dates debt was incurred       3/19/2021
                                             ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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               Name                                                   73
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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  82
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             Unknown
                                                                                                                    $________________________________
 Pat Wheeler                                                        
                                                                    ✔   Contingent
 221 Devine Rd                                                         Unliquidated
                                                                       Disputed
 San Antonio, TX, 78212
                                                                    Basis for the claim: Customer: 12339



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  83
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      51.00
                                                                                                                    $________________________________
 Penn Credit
 2800 Commerce Drive                                                   Contingent
                                                                       Unliquidated
 Harrisburg, PA, 17110                                                 Disputed

                                                                    Basis for the claim: Highway Toll



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  84
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Penske                                                             Check all that apply.
                                                                                                                     575.87
                                                                                                                    $________________________________
 Po Box 827380                                                         Contingent
                                                                       Unliquidated
 Philadelphia, PA, 19182 7380                                          Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  85
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     1,522.02
                                                                                                                    $________________________________
 Quality Tire Sales & Service                                       Check all that apply.
 8614 Botts Lane                                                       Contingent
                                                                       Unliquidated
 San Antonio, TX, 78217                                                Disputed

                                                                    Basis for the claim: Home / Car Repairs



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  86
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Quill                                                              Check all that apply.
                                                                                                                      849.49
                                                                                                                    $________________________________
 Po Box 37600                                                          Contingent
                                                                       Unliquidated
 Philadelphia, PA, 19101 0600                                          Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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  Debtor       _______________________________________________________           Case number (if known)_____________________________________
               Name                                                   73
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  87
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             Unknown
                                                                                                                    $________________________________
 Rajeh Gharzeddine                                                  
                                                                    ✔   Contingent
 99 James P Murphy Highway                                             Unliquidated
 Attn: Document Control Dept                                           Disputed
 West Warwick, RI, 2893
                                                                    Basis for the claim: Customer: 9656



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  88
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 Randall Mc Cafferty
 Rrmccafferty@Msn.Com                                               
                                                                    ✔
                                                                        Contingent
 8918 Los Sonoma Rio                                                   Unliquidated
 Helotes, TX, 78023                                                    Disputed

                                                                    Basis for the claim: Customer:12783



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  89
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Raul Herrera                                                       Check all that apply.
                                                                                                                     Unknown
                                                                                                                    $________________________________
 Diegosailor@Gmail.Com                                              
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 AK                                                                    Disputed
                                                                    Basis for the claim: Customer: 12775



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  90
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     Unknown
                                                                                                                    $________________________________
 Ray Gattinella                                                     Check all that apply.
 18800 Southcenter Parkway                                          
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 Seattle , WA, 98188                                                   Disputed

                                                                    Basis for the claim: Customer: 11792



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  91
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ricky L. Thompson                                                  Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 1212 St George Road                                                
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 Evansville, IN, 47711                                                 Disputed
                                                                    Basis for the claim: Customer:147



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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  Debtor       _______________________________________________________           Case number (if known)_____________________________________
               Name                                                   73
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  92
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             Unknown
                                                                                                                    $________________________________
 Roland Musko                                                       
                                                                    ✔   Contingent
 Po Box 1306                                                           Unliquidated
                                                                       Disputed
 East Greenwich, RI, 2818
                                                                    Basis for the claim: Customer: 12718



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  93
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      2,685.00
                                                                                                                    $________________________________
 Shamrock Mover Services
 Po Box 388                                                            Contingent
                                                                       Unliquidated
 Hallettsville, TX, 77964                                              Disputed

                                                                    Basis for the claim: Utility Services



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  94
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Staybridge Suites                                                  Check all that apply.
                                                                                                                     Unknown
                                                                                                                    $________________________________
 66 Ne Loop 410                                                     
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 San Antonio, TX, 78216                                                Disputed
                                                                    Basis for the claim: Customer: 12790



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  95
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     Unknown
                                                                                                                    $________________________________
 Sun Country                                                        Check all that apply.
 Po Box 1262                                                           Contingent
                                                                       Unliquidated
 San Marcos, TX, 78667 1262                                            Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  96
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 T Force Ups                                                        Check all that apply.
                                                                                                                      2,787.23
                                                                                                                    $________________________________
 Po Box 650690                                                         Contingent
                                                                       Unliquidated
 Dallas, TX, 75265 0690                                                Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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  Debtor       _______________________________________________________           Case number (if known)_____________________________________
               Name                                                   73
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  97
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             154.79
                                                                                                                    $________________________________
 Tex Door                                                              Contingent
 11202 Bomar Lane                                                      Unliquidated
                                                                       Disputed
 San Antonio, TX, 78233
                                                                    Basis for the claim: Suppliers or Vendors



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  98
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      670,000.00
                                                                                                                    $________________________________
 Tim Brierty
 4912 Camacho                                                          Contingent
                                                                       Unliquidated
 Austin, TX, 78723                                                     Disputed

                                                                    Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       2017 and 2021
                                             ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  99
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Timothy Collar                                                     Check all that apply.
                                                                                                                     Unknown
                                                                                                                    $________________________________
 184 Richfield Road                                                 
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 Deatsville, AL, 36022                                                 Disputed
                                                                    Basis for the claim: Customer No: 11642



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  100
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     159.06
                                                                                                                    $________________________________
 Truck Pro                                                          Check all that apply.
 Po Box 47874                                                          Contingent
                                                                       Unliquidated
 San Antonio, TX, 78265                                                Disputed

                                                                    Basis for the claim: Home / Car Repairs



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  101
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Una Buena Vida                                                     Check all that apply.
                                                                                                                      Undetermined
                                                                                                                    $________________________________
 P.O. Box 18505                                                        Contingent
                                                                       Unliquidated
 San Antonio, TX, 78218                                                Disputed
                                                                    Basis for the claim: Lease of Real Property



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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  Debtor       _______________________________________________________           Case number (if known)_____________________________________
               Name                                                   73
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  102
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             5,700.00
                                                                                                                    $________________________________
 United Software                                                       Contingent
 565 Metroplace South                                                  Unliquidated
 Suite 110                                                             Disputed
 Dublin, OH, 43017
                                                                    Basis for the claim: Suppliers or Vendors



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  103
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      15,958.65
                                                                                                                    $________________________________
 Valero
 Wex Bank                                                              Contingent
 Po Box 6293                                                           Unliquidated
 Carol Stream, IL, 60197 6293                                          Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  104
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Verizon                                                            Check all that apply.
                                                                                                                     23,591.57
                                                                                                                    $________________________________
 PO Box 15043                                                          Contingent
                                                                       Unliquidated
 Albany, NY, 12212                                                     Disputed
                                                                    Basis for the claim: Utility Services



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  105
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     Unknown
                                                                                                                    $________________________________
 Vince Hillman                                                      Check all that apply.
                                                                    
                                                                    ✔
                                                                        Contingent
 Randolph Afb, TX, 78148                                               Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Customer No: 11946



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  106
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Volkerding, Michael                                                Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 C/O Jppso Oscar Valenzuela                                         
                                                                    ✔
                                                                        Contingent
 2261 Hughes Ave.                                                   
                                                                    ✔
                                                                        Unliquidated
 Lackland Afb,, TX, 78236                                           
                                                                    ✔
                                                                        Disputed
                                                                    Basis for the claim: No Claim Number Settlement Offer



        Date or dates debt was incurred       6/1/2021
                                             ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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  Debtor       _______________________________________________________           Case number (if known)_____________________________________
               Name                                                   73
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  107
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             300.00
                                                                                                                    $________________________________
 Waste Management                                                      Contingent
 Po Box 660345                                                         Unliquidated
                                                                       Disputed
 Dallas, TX, 75266
                                                                    Basis for the claim: Utility Services



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  108
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 William Armstrong
 11901 Cartwright Avenue                                            
                                                                    ✔
                                                                        Contingent
                                                                       Unliquidated
 Grandview, MO, 64030 1182                                             Disputed

                                                                    Basis for the claim: Customer: 10778



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  109
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Yrc                                                                Check all that apply.
                                                                                                                     2,818.44
                                                                                                                    $________________________________
 Po Box 730375                                                         Contingent
                                                                       Unliquidated
 Dallas, TX, 75373 0375                                                Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                       No
        Last 4 digits of account number      ___________________       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                       No
        Last 4 digits of account number      ___________________       Yes




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     Debtor        _______________________________________________________          Case number (if known)_____________________________________
                   Name                                                   73
Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          Internal Revenue Service
4.1.      Centralized Insolvency Office                                                        Line _____
          P. O. Box 7346                                                                                                                        ________________
          Philadelphia, PA, 19101-7346                                                         
                                                                                               ✔     Not listed. Explain:
                                                                                               Notice Only
          Linebarger Goggan Blair & Sampson, LLP
4.2.
          112 E Pecan St.                                                                      Line 2.1
                                                                                                    _____
          Suite 2200                                                                              Not listed. Explain                          ________________
          San Antonio, TX, 78205

          Texas Comptroller of Public Accounts
4.3.                                                                                           Line _____
          Revenue Accounting Division - Bankruptcy Section
          P.O. Box 13528 Capitol Station                                                          
                                                                                                  ✔ Not listed. Explain                         ________________
          Austin, TX, 78711
                                                                                                Notice Only
          U.S. Small Business Administration
4.4.      Little Rock Commercial Loan Servicing Center                                         Line _____
          2120 Riverfront Drive, Suite 100                                                                                                      ________________
          Little Rock, AR, 72202
                                                                                                  
                                                                                                  ✔ Not listed. Explain

                                                                                                SBA Guaranty of Bank of San Antonio Loan
41.                                                                                            Line _____

                                                                                                  Not listed. Explain                          ________________



4.5.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.6.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.7.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.8.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.9.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.10.                                                                                          Line _____

                                                                                                  Not listed. Explain                          ________________



4.11.
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________




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              Name                                                   73
Pa rt 4 :     T ot a l Amount s of t he Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                            Total of claim amounts



5a. Total claims from Part 1                                                                    5a.
                                                                                                              0.00
                                                                                                            $_____________________________




5b. Total claims from Part 2                                                                    5b.   +       924,249.19
                                                                                                            $_____________________________




5c. Total of Parts 1 and 2                                                                                    924,249.19
                                                                                                5c.         $_____________________________
   Lines 5a + 5b = 5c.




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                                                73
 Fill in this information to identify the case:

             Alliance Transportation Services, Ltd.
 Debtor name __________________________________________________________________

                                         Western District of Texas
 United States Bankruptcy Court for the:______________________

                            21-50987                                         7
 Case number (If known):    _________________________                Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       Real Property Lease                               Una Buena Vida
         State what the contract or    Lessee                                            P.O. Box 18505
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                         San Antonio, TX, 78218

         State the term remaining
                                       Terminated
         List the contract number of
         any government contract


         State what the contract or
 2.2     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.3     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                              page 1 of ___
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                                                73
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Alliance Transportation Services, Ltd.

                                         Western District of Texas
 United States Bankruptcy Court for the:_______________________________

                            21-50987
 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

       Tim Brierty                   Tim Brierty
 2.1                                                                                                     Rawhide    Industries, LLC
                                                                                                          _____________________              ✔ D
                                                                                                                                             
                                     4912 Camacho
                                                                                                                                              E/F
                                     Austin, TX 78723                                                                                         G




 2.2                                 Ashley Brierty
                                                                                                         Rawhide    Industries, LLC
                                                                                                          _____________________              ✔ D
                                                                                                                                             
                                     4912 Camacho
                                                                                                                                              E/F
                                     Austin, TX 78723                                                                                         G
       Ashley Brierty



 2.3                                 Tim Brierty
                                     4912 Camacho                                                         Una   Buena Vida
                                                                                                           _____________________              D
                                     Austin, TX 78723                                                                                         E/F
                                                                                                                                             ✔ G
                                                                                                                                             
       Tim Brierty


 2.4
                                     Ashley Brierty
                                     4912 Camacho                                                        Una  Buena Vida
                                                                                                          _____________________               D
                                     Austin, TX 78723                                                                                         E/F
       Ashley Brierty                                                                                                                        ✔ G
                                                                                                                                             



 2.5                                 Tim Brierty
                                     4912 Camacho                                                        The  Bank of San Antonio
                                                                                                          _____________________              ✔ D
                                                                                                                                             
                                                                                                                                              E/F
                                     Austin, TX 78723                                                                                         G
       Tim Brierty


 2.6                                 Ashley Brierty
                                                                                                         The  Bank of San Antonio
                                                                                                          _____________________              ✔ D
                                                                                                                                             
                                     4912 Camacho
                                                                                                                                              E/F
                                     Austin, TX 78723                                                                                         G
       Ashley Brierty




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
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                                              73
 Fill in this information to identify the case and this filing:

              Alliance Transportation Services, Ltd.
 Debtor Name __________________________________________________________________

                                         Western District of Texas
 United States Bankruptcy Court for the: ________________________________

                              21-50987
 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    08/10/2021
        Executed on ______________                          /s/ Tim Brierty
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Tim Brierty
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  President of the General Partner
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                              73

Fill in this information to identify the case:
             Alliance Transportation Services, Ltd.
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Western District of Texas District of _________
                                                                              (State)
Case number (If known):   _________________________
                           21-50987                                                               ___________________________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                  Gross revenue
            may be a calendar year                                                             Check all that apply                (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                           
                                                                                               ✔ Operating a business
                                                                                                                                             1,725,669.99
           fiscal year to filing date:          01/01/2021
                                           From ___________         to     Filing date          Other                              $_____________________
                                                  MM / DD / YYYY


           For prior year:                      01/01/2020
                                           From ___________         to     12/31/2020
                                                                           ___________         
                                                                                               ✔ Operating a business                        3,965,884.45
                                                                                                                                    $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other
           For the year before that:            01/01/2019
                                           From ___________         to     12/31/2019
                                                                           ___________         
                                                                                               ✔ Operating a business
                                                                                                                                             4,886,308.32
                                                  MM / DD / YYYY            MM / DD / YYYY                                          $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

                                                                                               Description of sources of revenue   Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                                                                              0.00
                                                                                               ___________________________
                                                                                              Consolidated Gross Revenue           $__________________
           fiscal year to filing date: From 01/01/2021
                                            ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From 01/01/2020
                                                ___________         to      12/31/2020
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   Consolidated Gross Revenue
                                                                                               ___________________________                        0.00
                                                                                                                                   $__________________



           For the year before that:       From 01/01/2019
                                                ___________         to      12/31/2019
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY    ___________________________
                                                                                              Consolidated Gross Revenue                          0.00
                                                                                                                                   $__________________




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Debtor
                 Alliance Transportation Services, Ltd.
                 _______________________________________________________                                              21-50987
                                                                                               Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
    adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                       Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
              See SOFA Part 2, Question 3 Attachment
             __________________________________________       ________        $_________________
                                                                               278,028.65                        Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments

                                                              ________                                           Suppliers or vendors

                                                                                                                 Services
                                                              ________                                      
                                                                                                            ✔     Other _______________________________


     3.2.

                                                              ________        $_________________                 Secured debt
             __________________________________________
             Creditor’s name                                                                                     Unsecured loan repayments

                                                              ________                                           Suppliers or vendors

                                                                                                                 Services
                                                              ________                                           Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

           None

             Insider’s name and address                        Dates          Total amount or value        Reasons for payment or transfer
     4.1.
             Tim Brierty
             __________________________________________      _________         21,612.00
                                                                             $__________________
             Insider’s name
                                                                                                          Car and cell phone allowance and
             4912 Camacho                                                                                 fuel reimbursement
                                                             _________
             Austin, TX 78723
                                                             _________


             Relationship to debtor
              President of General Partner
             __________________________________________



     4.2.    __________________________________________
             Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




             Relationship to debtor

             __________________________________________



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor
                 Alliance Transportation Services, Ltd.
                 _______________________________________________________                                                 21-50987
                                                                                                  Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

      None
     ✔
             Case title                              Nature of case                          Court or agency’s name and address                Status of case

     7.1.                                                                                                                                         Pending

                                                                                                                                                  On appeal

             Case number                                                                                                                          Concluded



             _________________________________

             Case title                                                                      Court or agency’s name and address
                                                                                                                                                  Pending
     7.2.
                                                                                                                                                  On appeal

             Case number
                                                                                                                                                  Concluded




             _________________________________


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                                                 73
Debtor
                 Alliance Transportation Services, Ltd.
                 _______________________________________________________                                                  21-50987
                                                                                                    Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4
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Debtor
                Alliance Transportation Services, Ltd.
               _______________________________________________________                                                   21-50987
                                                                                                  Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

      None
     ✔
            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            __________________________________________
   11.1.
                                                                                                                         ______________      $_________
            Address




            Email or website address
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________
                                                                                                                         ______________      $_________
            Address




            Email or website address


            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

            Trustee

            __________________________________________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 5
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Debtor
                Alliance Transportation Services, Ltd.
               _______________________________________________________                                                  21-50987
                                                                                                 Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔     None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.    __________________________________________                                                                    ________________     $_________

            Address




            Relationship to debtor

            __________________________________________




            Who received transfer?                                                                                        ________________     $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
            Address                                                                                             Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
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Debtor
                 Alliance Transportation Services, Ltd.
                 _______________________________________________________                                                 21-50987
                                                                                                   Case number (if known)_____________________________________
                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                        Nature of the business operation, including type of services the            If debtor provides meals
                                                             debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.1.    ________________________________________                                                                                     ____________________
            Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                     How are records kept?


                                                                                                                                         Check all that apply:

                                                                                                                                            Electronically
                                                                                                                                            Paper

                                                             Nature of the business operation, including type of services the            If debtor provides meals
            Facility name and address                        debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.2.                                                                                                                                 ____________________
            ________________________________________
            Facility name


                                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                         Check all that apply:
                                                                                                                                          Electronically
                                                                                                                                         Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

          No.
     
     ✔                                                                      Address, billing and inventory
           Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                    No
                 
                 ✔   Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔     No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                    No. Go to Part 10.
                    Yes. Fill in below:
                        Name of plan                                                                           Employer identification number of the plan

                        _______________________________________________________________________                EIN: ___________________________________

                     Has the plan been terminated?
                           No
                           Yes



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                                                 73
Debtor            Alliance Transportation Services, Ltd.
                  _______________________________________________________                                                21-50987
                                                                                                  Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔     None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________                                                                                                     No
            Name                                                                                                                                        Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔      None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             ______________________________________
            Name
                                                                                                                                                       Yes



                                                            Address




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                                                 73
Debtor
               Alliance Transportation Services, Ltd.
               _______________________________________________________                                                21-50987
                                                                                               Case number (if known)_____________________________________
               Name




 Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

         None

           Owner’s name and address                      Location of the property                   Description of the property                    Value

                                                        7801 IH - 35 North                         Household Goods                                  Unknown
                                                                                                                                                  $_________
           US Transcom
           ______________________________________
           Name
                                                        San Antonio, TX 78218
           508 Scott Drive
           Scott Airforce Base, IL 62225-5357




 Part 12:        Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔    No
         Yes. Provide details below.
           Case title                                Court or agency name and address               Nature of the case                        Status of case

           _________________________________                                                                                                      Pending
                                                     _____________________________________
           Case number                               Name                                                                                         On appeal

           _________________________________                                                                                                      Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔    No
         Yes. Provide details below.

          Site name and address                      Governmental unit name and address             Environmental law, if known              Date of notice


           __________________________________        _____________________________________                                                    __________
           Name                                      Name




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Debtor
                Alliance Transportation Services, Ltd.
                _______________________________________________________                                             21-50987
                                                                                             Case number (if known)_____________________________________
                Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔     None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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Debtor
                   Alliance Transportation Services, Ltd.
                  _______________________________________________________                                               21-50987
                                                                                                 Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service


              Seth Ross Young-Jaques                                                                          From 06/01/2021
                                                                                                                   _______
   26a.1.     __________________________________________________________________________________
              Name                                                                                               08/16/2021
              327 West Sunset Road Apt 1114, San Antonio, Texas 78209                                         To _______




              Name and address                                                                                Dates of service

              Samantha Branham                                                                                From 11/01/2020
                                                                                                                   _______
   26a.2.     __________________________________________________________________________________
              Name
              9327 Mimosa Manor, San Antonio, Texas 78245                                                       06/11/2021
                                                                                                             To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔     None

                    Name and address                                                                          Dates of service

                                                                                                              From _______
         26b.1.     ______________________________________________________________________________
                    Name
                                                                                                              To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
            
            ✔     None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     ______________________________________________________________________________
                    Name




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Debtor
                    Alliance Transportation Services, Ltd.
                    _______________________________________________________                                            21-50987
                                                                                                Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

                   None

                     Name and address


           26d.1.    The Bank of San Antonio
                     ______________________________________________________________________________
                     Name
                      888 Isom Suite 100, San Antonio, TX 78216




                     Name and address



           26d.2.
                     Rawhide Industries, LLC
                     ______________________________________________________________________________
                     Name
                      106 Ponca Bend, San Antonio, TX 78231




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔      No
           Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




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Debtor
                Alliance Transportation Services, Ltd.
                _______________________________________________________                                              21-50987
                                                                                               Case number (if known)_____________________________________
                Name




            Name of the person who supervised the taking of the inventory                     Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

            ______________________________________________________________________            _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                      Address                                                 Position and nature of any interest      % of interest, if any
 Brierty Holdings GP, LLC                    4912 Camacho, Austin, TX 78723                          General Partner                         99


 Tim Brierty                                 4912 Camacho, Austin, TX 78723                                                                  1




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

          Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                                Address                                                 interest                     or interest was held


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     
     ✔     No
          Yes. Identify below.
                                                                                     Amount of money or description      Dates               Reason for providing
            Name and address of recipient                                            and value of property                                   the value

   30.1.    ______________________________________________________________            _________________________          _____________
            Name


                                                                                                                         _____________


                                                                                                                         _____________

            Relationship to debtor                                                                                       _____________

            ______________________________________________________________                                               _____________
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Debtor
                   Alliance Transportation Services, Ltd.
                   _______________________________________________________                                                 21-50987
                                                                                                    Case number (if known)_____________________________________
                   Name




              Name and address of recipient
                                                                                            __________________________     _____________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________

                                                                                                                           _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔       No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ____________________________



 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       08/10/2021
                               _________________
                                MM / DD / YYYY



              /s/ Tim Brierty
              ___________________________________________________________                              Tim Brierty
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 President of the General Partner
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         
         ✔    Yes




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               Alliance Transportation Services, Ltd.
                                                      73                  21-50987
    Debtor Name                                                            Case number (if known)



                                   Continuation Sheet for Official Form 207
21) Property held for another

Total Military Management, Inc.

7801 IH - 35 North, San Antonio, TX 78218

Household Goods

Value: Unknown

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SEE STATMENT OF FINANCIAL AFFAIRS PART 11, QUESTION 21

,

Household Goods and Storage Items

Value: $0.00

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26a) Bookkeepers

Stacey Garbolotti                                    07/01/2016                         06/28/2020




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                 STATEMENT OF FINANCIAL
                 21-50987-cag           AFFAIRS
                               Doc#3 Filed      PART 11Entered
                                            08/10/21    QUESTION 21 - PROPERTY
                                                               08/10/21        HELDMain
                                                                         09:23:27  FOR ANOTHER
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                                                             73
Name                                 Address 1                   Address 2                         City               State           Zip   Consideration
Esther Kamau                         2261 Hughes Avenue          Ste 160                           Lackland Afb       TX      78236 9858    Customer: 63
Vince Hillman                                                                                      Randolph Afb       TX          78148     Customer No: 11946
Hadi Fariss                          Po Box 3276                                                   Saginaw            MI          48605     Customer No: 11306
Roland Musko                         Po Box 1306                                                   East Greenwich     RI            2818    Customer: 12718
Cassandra Miller                     Po Box 33321                                                  San Antonio        TX          78265     Customer: 11706
Barbara Wright                       Po Box 99321                                                  Lakewood           WA          98496     Customer: 12398
Jessica Lanuto                       13520 Luxe Ave              Apt 202                           Lakewood Ranch     FL      34211 4505    Customer: 12340
Justin Wharton                       309 Vine Street                                               Beckley            WV      25801 4845    Customer: 12374
Napasha Obermuller                   Napasha813@Gmail.Com                                                             AK                    Customer: 12552
David Johnson                        Davjohnson1987@Gmail.Com                                                         AK                    Customer: 12670
James Park                           Jcpark@Coamerica.Com                                                             AK                    Customer: 12689
Karen (Joseph) B Kennedy             Bigskymontana7@Gmail.Com                                                         AK                    Customer: 12714
Dennis Loomas                        Dennis.Loomas24@Gmail.Com                                                        AK                    Customer: 12715
William Armstrong                    11901 Cartwright Avenue                                       Grandview          MO      64030 1182    Customer: 10778
Joseph Michael Babb                  2935 Thousand Oaks          No 6 122                          San Antonio        TX      78247 3312    Customer: 11886
Cosa City Of San Antonio             300 South Alamo             Maintenance Basement Receiving    San Antonio        TX          78205     Customer: 12356
Comco Systems                        306 West Overly Dr                                            Lake Dallas        TX          75065     Customer: 12003
Hyatt Regency Hotel                  123 Losoya Street                                             San Antonio        TX          78205     Customer: 10596
Heritage Radiology, Llc              6496 N. New Braunfels                                         San Antonio        TX          78209     Customer: 12090
National Distribution Service. Ltd   616 Trade Center Blvd                                         Chesterfield       MO          63005     Customer: 12408
Staybridge Suites                    66 Ne Loop 410                                                San Antonio        TX          78216     Customer: 12790
Nuaire Inc                           2100 Fernbrook Lane         Attn: Melissa Palttner            Plymouth           MN      55477 4722    Customer: 10569
Bio Medical Solutions, Inc.          3727 Greenbriar Dr.         #304                              Stafford           TX          77477     Customer: 11074
AC Element                           1900 East College Ave                                         Cudahy             WI          53110     Customer: 12254
Manfredo Mazariegos                  3741 Dean Circle                                              Fort Sam Houston   TX          78234     Customer: 12758
Jannette Prichard                    43 Granburg Circle                                            San Antonio        TX          78218     Customer: 11599
Lorenzo Salgado                      815 S Main Street           Government Services Division      Jacksonville       FL          32207     Customer: 11476
Mark Mc Pherson                      614 Harrison Street         Suite B                           Sumner             WA          98390     Customer: 12528
Omar Pedraza                         99 James P Murphy Highway   Attn: Document Control Dept       West Warwick       RI            2893    Customer: 9656
Gordon Krnaich                       99 James P Murphy Highway   Attn: Document Control Dept       West Warwick       RI            2893    Customer: 9656
Jose Pedro                           99 James P Murphy Highway   Attn: Document Control Dept       West Warwick       RI            2893    Customer: 9656
Martin Politron                      11350 Random Hills Rd       Suite 130                         Fairfax            VA          22030     Customer: 12712
Jason Cromartie                      99 James P Murphy Highway   Attn: Document Control Dept       West Warwick       RI            2893    Customer: 9656
Felix Aranzadi                       11350 Random Hills Rd       Suite 130                         Fairfax            VA          22030     Customer: 12712
Brian Vicente                        99 James P Murphy Highway   Attn: Document Control Dept       West Warwick       RI            2893    Customer: 9656
Guadalupe Sepulveda                  Po Box 1306                 Attn: Taylor J Arpin              East Greenwich     RI            2818    Customer: 9714
Rajeh Gharzeddine                    99 James P Murphy Highway   Attn: Document Control Dept       West Warwick       RI            2893    Customer: 9656
Ray Gattinella                       18800 Southcenter Parkway                                     Seattle            WA          98188     Customer: 11792
Pat Wheeler                          221 Devine Rd                                                 San Antonio        TX          78212     Customer: 12339
Adam Montes                          Fort Sam Houston                                                                 TX          78234     Customer: 11790
 Brian Brown                         3903 Barrington St          Apt 2016 Park At Ventana Apartment San Antonio       TX          78217     Customer: 11904
Olga B. Orso                         Po Box 1066                                                    Cibolo            TX          78108     Customer: 4702
Lloyd Oubre                          122 Ruellia Drive                                              Georgetown        TX          78633     Customer: 4690
Ricky L. Thompson                    1212 St George Road                                            Evansville        IN          47711     Customer:147
Marguerite (Peggy) Kneip             109 West French Place                                          San Antonio       TX          78212     Customer: 5225
Randall Mc Cafferty                  Rrmccafferty@Msn.Com                                                             AK                    Customer:12783
David Brown                          129 Grand Vista                                               Cibolo             TX           78108    Customer: 12777
Raul Herrera                         Diegosailor@Gmail.Com                                                            AK                    Customer: 12775
Krishna Adams                        8907 Interlachen                                              Selma              TX           78154    Customer: 12774
Marion Collins                       57 Forysth St Nw            Unit 15 B                         Atlanta            GA           30303    Customer: 12759
Christopher Cummings                 Emaple4024@Gmail.Com                                                             AK                    Customer: 12755
Gregory Chapin                       1212 St George Road                                           Evansville         IN           47711    Customer No: 133
Lois Borsay                          10 Oakwell Farms Parkway                                      San Antonio        TX           78218    Customer: 12604
Juan Pastrana                        12436 Vance Jackson Rd      #532                              San Antonio        TX                    Customer: 12525
Kate Park                            120 West Olmos                                                San Antonio        TX           78212    Customer: 12657
Douglas Jackson                      1907 Hamilton Street                                          Holt               MI           48842    Customer: 12442
Gregory James                        2837 Dunbar Ave                                               Fort Myers         FL           33916    Customer: 12285
Heike Butler                         3501 Pin Oak Drive          Apt 816                           San Antonio        TX           78229    Customer: 12199
George Weathersby                    7311 Pine Haven                                               San Antonio        TX           78244    Customer: 12180
Angelo Rodriguez                     C/O Milly Arroyo                                                                 AK                    Customer: 11941
Timothy Collar                       184 Richfield Road                                            Deatsville         AL           36022    Customer No: 11642
Chris Alegria                        19901 Cheyenne Calley Dr                                      Round Rock         TX           78664    Customer: 11838
Freeman Peterson                     4816 Birmingham Drive                                         Indianapolis       IN           46235    Customer: 12159
